        Case 1-17-45121-cec                      Doc 44          Filed 03/08/18              Entered 03/08/18 15:38:41




                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF NEW YORK
                                         BROOKLYN DIVISION

IN RE:                                                                     Case No. 17-45121-CEC
                                                                           Chapter 11
RENE GUZMAN

Debtor(s).

                                                 NOTICE OF APPEARANCE


            Wilmington Savings Fund Society, FSB 1,2, a Secured Creditor in the above styled
            proceeding, hereby requests that all matters which must be noticed to creditors, any
            creditors' committees, and any other parties-in-interest pursuant to FRBP 2002, whether
            sent by the Court, the Debtor, or any other party in the case, be sent to the undersigned;
            and pursuant to FRBP 2002(g), requests that the following be added to the Court's
            Master Mailing List3:
                                                   Margaret J. Cascino, Esquire
                                                      Stern & Eisenberg, PC
                                                  485 B Route 1 South, Suite 330
                                                  Woodbridge Corporate Center
                                                         Iselin, NJ 08830


Dated this 8th day of March, 2018.


                                                              By:       /s/ Margaret J. Cascino, Esquire
                                                                     Margaret J. Cascino, Esquire
                                                                     Stern & Eisenberg, PC
                                                                     485 B Route 1 South, Suite 330
                                                                     Woodbridge Corporate Center
                                                                     Iselin, NJ 08830
                                                                     Phone: (516) 630-0288
                                                                     Fax: (732) 726-8719
                                                                     mcascino@sterneisenberg.com
                                                                     Attorney for Creditor


1   Full title of Creditor is as follows: Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not in its Individual Capacity but Solely
    as Trustee for Brougham Fund I Trust.
2   This Loan is currently serviced by BSI Financial Services.
3   For reference, the property address associated with the undersigned's representation is 6907 JUNIPER BOULEVARD SOUTH, MIDDLE
    VILLAGE, NY 11379.
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                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, under the penalty of perjury, that a true and correct copy of the
foregoing Notice of Appearance has been sent by electronic means via the Court's CM/ECF
notification system this 27th day of February, 2018, to the following:

Norma E Ortiz, Esq.
Ortiz & Ortiz LLP
32-72 Steinway Street
Suite 402
Astoria, NY 11103
email@ortizandortiz.com
Attorney for Debtor(s)

Office of the U.S. Trustee
U.S. Federal Office Building
201 Varick Street, Room 1006
New York, NY 10014
U.S. Trustee

and by standard first class mail postage prepaid to:

Rene Guzman
6907 Juniper Street
Apt. 1
Middle Village, NY 11379
Debtor(s)

Dated this 8th day of March, 2018.




                                              By:        /s/ Margaret J. Cascino, Esquire
                                                       Margaret J. Cascino, Esquire
                                                       Stern & Eisenberg, PC
                                                       485 B Route 1 South, Suite 330
                                                       Woodbridge Corporate Center
                                                       Iselin, NJ 08830
                                                       Phone: (516) 630-0288
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                                                       Attorney for Creditor
